                                                                                                      75-MAL-03 RCI variance
             Case: 1:25-cv-00291-MWM Doc #: 1-4 Filed: 05/06/25 Page: 1 of 2 PAGEID #: 29

      ODRC Policy/Operation Manual Variance Request
Variance to ODRC Policy/Operation Manual #: 75-MAL-03                                             Section(s): VI.A.4-5
Policy/Operation Manual Name: Incarcerated Population Legal Mail
Managing Officer or
designee Submitting the                                                             Signature
Request:
Policy Owner Signature                                                                                                         Date:
Margaret S Moore                                                                                                               3/27/2025
Date of Request:           Length of Request:        Expires 5/31/2025                    Effective Date of Variance:      Applicable to:
 Mar 27, 2025                 90 days        120 days         180 days          other       April 01, 2025                 RCI

Please provide a full explanation of the requested variance including the justification for the request. Please be
specific as to exactly what sections and language are being revised. Explain revision necessary prior to routine
revision of the policy. (Attach additional sheets if necessary):
Add Ross Correctional Institution to the pilot program for copying legal mail. See attached for additional details for revisions of
subsection VI.A.4-5 during the pilot program at RCI.




Comments:
Defer to Ernie Moore, OOP Deputy Director.


    Recommended                         Central Office Policy Review Chairperson:                                                  Date:
    Not Recommended                                               Jondrea K Parrish                                                3/27/2025

Comments:


    Recommended                         Deputy Director or Regional Director:                                                      Date:
    Not Recommended
                                                                  Ernie L Moore                                                    3/27/2025

Comments:



    Recommended
                                        Legal Signature:                                                                           Date:
    Not Recommended                                               STEPHEN GRAY                                                     3/28/2025

Decision/Comments:
Expires 5/31/2025 per Legal (M. Moore).

    Approved                            Director:                                                                                  Date:
    Disapproved                                            Annette Chambers-Smith                                                   3/28/2025

                                          Expiration of Variance:                       90 days      120 days      180 days        Next Revision

                                                                       Expires 5/31/2025



                                                                                                            A-2
DRC1887 E (Rev. 03/2020)                                   Policy: 01-COM-01                                                           Page 1 of 1
  Case: 1:25-cv-00291-MWM Doc #: 1-4 Filed: 05/06/25 Page: 2 of 2 PAGEID #: 30

            75-MAL-03 Variance (Effective 4/1/2025; Expires 5/31/2025)

Remove Current language in subsection VI.A.4-5 and insert subsection VI.B. below (for
Lebanon Correctional Institution, Marion Correctional Institution, and Southern Ohio
Correctional Facility, and Ross Correctional Institution).
   VI.B Legal Mail Procedures


          1. Legal mail will be opened in the presence of the Incarcerated Person by a mailroom
             staff member or warden’s designee in the designated legal mail area.

          2. If anything is found to be suspicious, or needs further investigation, the entire
             document and the envelope will be confiscated. See section C for procedures
             concerning suspected contraband.

          3. If the legal mail does not appear suspicious, or does not need further investigation,
             a designated staff member will proceed as follows:

             a. The staff member will copy the document in the presence of the Incarcerated
                Person using the designated legal mail copier with no memory capability and
                allow the Incarcerated Person to review the copy to ensure it contains the same
                number of pages as the original document.

             b. If the Incarcerated Person acknowledges that the copy contains the correct
                number of pages and is legible, the Incarcerated Person shall sign the Legal
                Mail Log (DRC2632) acknowledging that they were shown the original legal
                mail took possession of the copy. No additional copies will be made.

             c. Once the Incarcerated Person accepts the copy, the original document will be
                shredded in the presence of the Incarcerated Person using the designated legal
                mail shredding equipment.

             d. If the Incarcerated Person disputes that the copy matches the original, staff will
                check to see if an error was made, and if so, correct it.

             e. If the Incarcerated Person refuses to sign and acknowledge accepting the copy
                of the legal mail after any corrections have been made, the copy shall be
                shredded, and the original legal mail confiscated. The confiscated legal mail
                shall be returned to sender with “refused to accept delivery” placed on the
                outside of the envelope.


               75-MAL-03 Variance (Effective 4/1/2025; Expires 5/31/2025)
